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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                   Case No. 20-24239-CIV-GRAHAM/McALILEY



  BARBARA ALVEREZ FUENTES,

        Plaintiff,

  vs.

  HEALTHCARE REVENUE RECOVERY GROUP, LLC,

        Defendant.
                                              /


                              ORDER OF REFERENCE
                          FOR SETTLEMENT CONFERENCE


        THIS CAUSE came before the Court sua sponte.

        PURSUANT to 28 U.S.C.        § 636 and the Magistrate Rules of the

  Local    Rules     of   the    Southern     District     of   Florida,      the

  above-captioned     Cause     is   hereby   referred     to   United   States

  Magistrate Judge Chris M. McAliley for a Settlement Conference.

  The Settlement Conference shall take place within forty-five (45)

  days of the date of this Order and shall be attended by all counsel

  of record and representatives of each party. Said representatives

  shall have full authorization to negotiate, submit, and accept

  offers   of   settlement.     Additionally,     the    conference   shall    be

  conducted without a court reporter so that no record of the

  proceedings will be maintained.         It is further
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        ORDERED AND ADJUDGED that within two (2) weeks of the date of

  this Order, the parties shall exchange Initial Disclosures pursuant

  to Federal Rule of Civil Procedure 26(a) in order to assist the

  Court in the Settlement Conference.

        DONE AND ORDERED in Chambers at Miami, Florida, this 16th day

  of December, 2020.



                                           s/ Donald L. Graham
                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE


  cc:   U.S. Magistrate Judge McAliley
        Counsel of Record




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